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                                                                               FILED
                  IN THE UNITED STATES DISTRICT COURT                           JAN 11 2017
                      FOR THE DISTRICT OF MONTANA                         Clerk. US o·
                             MISSOULA DIVISION                                 Oistnci.Of ~tnct Court
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 UNITED STATES OF AMERICA,                             CR-16-12-M-DLC
                      Plaintiff,                      FINDINGS AND
                                                    RECOMMENDATION
        vs.                                         CONCERNING PLEA
 JOHN ROBERT DEYOUNG,

                      Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to defraud the

United States in violation of 18 U.S.C. § 371 (Count I), as set forth in the

Indictment. In exchange for Defendant's plea, the United States has agreed to

dismiss Counts II through IV of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,



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      2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

the Indictment, and that sentence be imposed. I further recommend that Counts II

through IV of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

                                              '2017.


                                       1 r miah C. Lynch
                                          ited States Magistrate Judge

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